                      Case 1:18-cv-01458-PLF Document 13-14 Filed 06/26/18 Page 1 of 11




          White House chief of staff John Kelly is pictured at President Trump's Mar-a-Lago resort in Palm Beach, Fla., last
          month.
          Mandel Ngan/AFP/Getty Images




          Editor's note: This post contains language some may find offensive.

          NPR's Southwest correspondent John Burnett speaks with White House chief of staff
          John Kelly. Here's a partial transcript of their conversation, which has been edited
          for clarity.

          Burnett started by talking with Kelly about how much time he spends with President
          Trump:

          John Kelly: I do spend a huge amount of time with him. Now, less so today. When I
          when I got here there was a lot of work to be done organizational work to be done. So I
          spent every minute with him. But that was to train the staff as to how to interact with


1 of 17                                                                                                                        6/23/2018, 2:48 PM
                   Case 1:18-cv-01458-PLF Document 13-14 Filed 06/26/18 Page 2 of 11
          the president because it was that needed to be done and to organize how people
          interact with the president in the Oval Office.

          John Burnett: So how many hours a day would you figure?

          I don't know, seven or eight.

          Wow, OK.

          Five, six, seven, eight.

          What do you do to start your day?

          The minute I start, I start. I mean it's work. I leave the house. We live, we moved to a
          house in Manassas, which was the house that we would live in I'd never work another
          day when I retired from the Marine Corps. So it's about a 40-minute drive. I get driven
          in by the Secret Service. I get my fair amount of threats. But anyway.

          So when I get in the car at 5:30 I have to read, basically cover-to-cover, The New York
          Times, The Washington Post, the CNN website, the FOX News website, Politico and a
          website I never read before until I got this job: Breitbart. So, you know, to get that end
          of the political spectrum. So that's from 5:30 and I get home at 8, 8:30 or later.




          OK. What do you what do you drink when you get home?

          Wine usually. Unless my wife's in California, which she is now, and you know I hit the
          hard stuff.

          What kind of wine?

          Cheap red wine.

          So what's harder — commanding Marines in a combat zone in Iraq or
          bringing order to the Trump White House?

2 of 17                                                                                          6/23/2018, 2:48 PM
                    Case 1:18-cv-01458-PLF Document 13-14 Filed 06/26/18 Page 3 of 11
          Working in the White House is the hardest thing I've ever done in my life, bar none.

          Talk about that.

          Well, first, with all due respect to people like yourselves, I was not ready for the press
          that covers a White House. All of my time, and you remember it a little bit, I think, we
          were pretty good to you guys. We had a good team effort going in the field. When I was
          working in the Pentagon at a higher level, senior level the Pentagon press corps were
          really good to work with. I mean they, they seldom wrote or did the story you wanted
          to read, naturally, but they were really professional in trying to get the accurate aspect
          of every story. It wasn't personal. It was pretty professional. And I still call some of
          them ... good acquaintances. This is vastly different. This is — it's personal, it's vicious.
          ...

          I did my first off the record — that was immediately violated. But after about six weeks
          in a job one of the reporters said to me, "Look you were our worst nightmare. This
          place was a clown show before you showed up. We didn't think this president would
          last a year [or] 18 months. Now that you're here, there's order to the place. The leaks
          all but went away. So, sorry but you got to go." So here I am, sitting, still here.

          With your background valuing chain of command and military discipline,
          do you feel like you've brought some discipline and integrity to this inner
          circle?

          They overstate that, press covers that a lot. Again, I don't mean to be too hard on the
          press but they — I know everything. Right? And so when I read the press accounts of
          what's going on here, I say, "gee, how could they have gotten that that wrong?" So I
          think the press, and maybe it's because only certain people talk and those people
          maybe leak or are sources — and maybe those people aren't as honorable as they
          should be. But when I read what they write, I think to myself they may have had some
          low-level source and that's — and to write a story like that — whatever "that" is for a
          major newspaper like the Post or the Times -- to base it on almost rumor strikes me as
          being a little bit — not the way to do business.

          There's been some reporting about some derogatory words that you use to
          describe the president. I know you've denied it. How would you describe

3 of 17                                                                                              6/23/2018, 2:48 PM
                  Case 1:18-cv-01458-PLF Document 13-14 Filed 06/26/18 Page 4 of 11
          your relationship with Donald Trump?

          The president and I have a very close relationship. I've always — my view is to speak
          truth to power. I always give my opinion, on everything. Sometimes — he always
          listens. Sometimes he takes the opinion, sometimes he doesn't. The good thing about
          the president is he does listen to people and when I — the organization I brought to
          the place is whatever the topic is, generally speaking, we will have a group in there of
          very — a spectrum. So if it's taxes, you'll have someone who thinks you know very
          liberally about taxes and someone who's on the arch-conservative side and then a
          sprinkling of everyone in the middle. And then there's a discussion and generally if
          there's a decision to be made then I help execute that. So we have a very close
          relationship in the sense of – I'm his chief of staff and I tell him what I think is always
          the truth is and whether he goes along with my recommendations is another story.

          How would you describe his intellect?

          Very smart – a very, very smart guy. I mean a super smart guy. But I think it wouldn't
          surprise you to know he's very strong. He's very strong in terms of trade, taxes,
          business and he's a quick study on everything else. He's a pretty bright guy.

          So do you have any regrets about taking this job nine months ago? You
          know, there have been reports that you're considering leaving.

          First of all, I didn't get a vote. Took $30,000 a year cut to take this job from what I was
          doing at DHS and I say that only because I'm one of the probably the few people
          around here that isn't really rich, at my age anyways. You know, the sense of duty. It
          was clear from my perch at DHS that the White House was less organized than our
          president deserved. So when he said, "I really need you to come down, what do you
          say?" I came down.

          You seriously considered leaving?

          No. I mean there's times of great frustration, mostly because of the stories I've read
          about myself or others that I think the world of which is just about everyone that
          works at the complex. You wonder if it's worth it to be subjected to that. But then I
          grow up and suck it up.


4 of 17                                                                                            6/23/2018, 2:48 PM
                  Case 1:18-cv-01458-PLF Document 13-14 Filed 06/26/18 Page 5 of 11
          Do the president's inaccurate statements; everything from the number of
          people he believes voted illegally, to the size of the inauguration crowd, or
          to the payments to the lawyer regarding Stormy Daniels — do inaccurate
          statements make your job harder?

          You know, I'm not so sure they're inaccurate. I wasn't here for the for the first two
          examples. One of the things we've all done here we have to do here, John, in terms of
          these outside accusations — we've had to really build a firewall between the White
          House staff that works for the president of the United States and the personal legal
          staff that works for Donald Trump. And that comes together in one individual here
          that works at the White House. But, like, Sarah Sanders when she's asked a question
          and she says, "I don't know, ask Rudy Giuliani," she's not punting it. She... we all work
          very hard not to know the issues related to Donald J. Trump. We work very, very hard
          to master the issues related to the president of United States.

          Are there things that you wish you personally had done differently in this
          job?

          In retrospect, I wish I had been here from Day 1.

          How so?

          Well because that's six months, I think in some cases in terms of staffing or serving the
          president that first six months was pretty chaotic and there were people — some
          people hired that maybe shouldn't have hired some people that were — it was just, I
          wish I'd been here from the beginning because I could have brought the organization
          from, you know, from Day 1 as opposed to — Now it's not that things were a disaster
          for that six months, but I believe they could have been better.

          The president keeps calling the Russian investigation a witch hunt, do you
          do you think it is? Do you think it's a witch hunt against the president?

          From what I read in the newspaper, because I have no knowledge — as I say, I've built
          a firewall. From what I read and observe in the news media — something that has gone
          on this long without any real meat on the bone, it suggests to me that there is nothing
          there, relative to our president.


5 of 17                                                                                           6/23/2018, 2:48 PM
                   Case 1:18-cv-01458-PLF Document 13-14 Filed 06/26/18 Page 6 of 11
          Is there a cloud hanging over this White House?

          Well yeah, you know, there may not be a cloud but certainly the president is you know
          somewhat embarrassed, frankly. When world leaders come in - it's kind of like you
          know Bibi Netanyahu is here — who's under investigation himself — and it's like, you
          know, you walk in and you know the first couple of minutes of every conversation
          might revolve around that kind of thing.

          What kind of thing?

          Well, it's a distraction.

          The Russia investigation?

          Or whatever. It's just a distraction for him. He has, you know, he has said this himself
          in the press or publicly that he really wants to reach out and have a good relationship
          with say Russia in the same way the head does with Xi from China. And hopefully Kim
          from North Korea. But he's but he's a little hesitant to do that right now because of
          what you say is a cloud.

          Regarding the Iran nuclear deal. You served as special assistant to the
          Supreme Allied Commander in Europe and at U.S. Southern Command
          with responsibility over Latin America. You understand the importance of
          working with U.S. allies. Are you concerned we're going to lose our trust
          because of pulling out of the Iran deal?

          I don't think so. I mean it was a horrible deal. The best deal someone thought they
          could get. Horrible deal.

          What's Step 2 now that we pulled out? What is the new deal?

          Re-establishing, not re-establishing, but ensuring that a country that has been has
          been very unreliable in their claims about not ever having a nuclear program etc.
          doesn't get a nuclear program. And in a country that is developing [intercontinental
          ballistic missiles] ... the rational man and woman can't quite understand why he'd
          need an ICBM that could reach Europe or the United States. It's the same kind of point
          that he's making to Kim — why do you need nuclear weapons? Why do you need an

6 of 17                                                                                           6/23/2018, 2:48 PM
                  Case 1:18-cv-01458-PLF Document 13-14 Filed 06/26/18 Page 7 of 11
          ICBM that can hit the United States? We have no intention of invading you. Work this
          thing out with your brothers and sisters to the south. So, the Europeans are decided to
          stay in. And I think we'll help them improve on the [agreement] that they have with
          Iran.

          Regarding the upcoming summit with Kim. How can you be sure that he's
          not going to trick you? We've been down this road so many times before
          and there have been disappointments with that country.

          Not sure, but this president's got his eyes wide open. There is, he really — believe me –
          the president really wants this to work. We talk fairly frequently about nuclear
          weapons and he's just astounded that the United States that the human race could
          have gotten itself into this dilemma with all of these nuclear weapons. As he says, to
          help North Korea see the light, give up its nuclear program and its missile program
          would be a wonderful thing. But, as he said, hopefully it'll work out maybe it won't. But
          I don't think he'll fall for it in the same way. I know he won't fall for it in the same way
          that past presidents have - that get strung along, strung along, lift the sanctions, give
          them money and get nothing for it.

          Finally, to immigration. You were only at DHS for about six months. But
          you had a consequential time there. Aggressive enforcement was begun
          right after the president came into office. Are you still interested in border
          security and immigration from your perch here?

          Yeah, I mean it's not something I think about as much as when I was at DHS. But you
          know when I was at DHS, I certainly carried the same point of view and that is we have
          immigration laws. We have border protection laws that are simply ignored or have
          been ignored.

          One of the things that we did at my first day at DHS we just said to the men and
          women of ICE and the men and women of CBP — Customs and Border Protection; just
          go to your job, and do it legally do it humanely. But go do your job. That, combined
          frankly, with Mr. Trump coming in — his campaign promises and whatnot — the
          immigration fell off dramatically. Mostly because people are not willing to take the
          chance of spending a huge amount of money to them – $6,000, $12,000, $15,000 —


7 of 17                                                                                            6/23/2018, 2:48 PM
                  Case 1:18-cv-01458-PLF Document 13-14 Filed 06/26/18 Page 8 of 11
          to have the traffickers get them to the United States.

          And if you believe what Donald Trump was saying and he does believe it — quick
          return to where you came from. We have a serious problem internally. We have very,
          very, I'd say chaotic immigration laws that we have just got to change. I mean this is all
          on the United States Congress — they don't do. They have not done anything to
          address this. And I could give you example after example of laws.

          In terms of the Deferred Action for Childhood Arrivals program, where
          are you putting your hopes now?

          It's astounding to me, and it should be to the world — that the president from what he
          was saying during the campaign to what he agreed upon with the with the four pillars,
          to take 670,000 people who were covered under the Obama DACA program ... The
          second 670,000 of course were the ones that were going on under the Obama
          administration that for some reason didn't get around to registering which is very
          easily done.

          I believe you said that they needed to get off their lazy asses and register.

          I believe that's a quote. But for whatever reason they didn't get off their butts. The fact
          is that this president said, "throw them in there so," we get 1.8 million. That was
          earthshaking enough. And then a path to citizenship. I thought based on all of the
          rhetoric I was getting from the particularly the Democrats on the Hill both sides of the
          aisle both sides of the hill that they, I mean that was Nevada and they you know they
          tap that around and tossed it around.

          What would you like to see happen legislatively right now?

          Right now I would like to see legislatively the four pillars enacted. And I think those
          that did not grasp the four pillars and pass it, have let down 1.8 million DACA people
          — either full recipients or the ones that didn't get around to signing up and they're still
          in limbo. And this president wants to get them out of limbo and get them into heaven.
          But it is astounding to me with all of my interactions with the Hispanic Caucus, the
          Democratic Caucus, all of that that when this stuff was served up on a silver platter
          they did nothing.


8 of 17                                                                                             6/23/2018, 2:48 PM
                  Case 1:18-cv-01458-PLF Document 13-14 Filed 06/26/18 Page 9 of 11
          And then in terms of temporary protected status, there was a report that
          you called acting DHS Secretary Elaine Duke and said, "I urge you to
          cancel that status for the Hondurans." Is that true?

          It is not true. I called her because she was not making a decision and I said, "look, I
          don't care what you do."

          So you think all the TPS status should be canceled for all the countries?

          I think we should fold all of the TPS people that have been here for a considerable
          period of time and find a way for them to be [on] a path to citizenship. Use the
          Haitians as an example.

          A path to citizenship rather than sent home?

          Yeah. Well, they were there in a legal status under TPS, that's a big deal. They're under
          legal status. You take the Central Americans that have been here 20-plus years. I mean
          if you really start looking at them and saying, "OK you know you've been here 20
          years. What have you done with your life?" Well, I've met an American guy and I have
          three children and I've worked and gotten a degree or I'm a brick mason or something
          like that. That's what I think we should do — for the ones that have been here for
          shorter periods of time, the whatever it was that gave them TPS status in the first
          place. If that is solved back in their home countries they should go home.

          So did you disagree with the decision by your successor Secretary Nielsen
          that Salvadorans and Hondurans and Haitians who've been here a very
          long time should have been allowed a path to citizenship?

          I did not talk to her about it. But let me go back to ... Duke, one more time. My phone
          call to her was I don't give a shit what you decide. Just make a decision. We were at the
          point we needed to make a decision on that particular group of people. She seemed to
          be incapable of making it. I just called and said I don't care what you do. Just do
          something. They stay or they go. ...

          In fact, she was in the office here on her last day apologizing for however that story get
          out. But anyway.


9 of 17                                                                                             6/23/2018, 2:48 PM
                   Case 1:18-cv-01458-PLF Document 13-14 Filed 06/26/18 Page 10 of 11
           I think by doing what she's done Secretary Nielsen once again is forcing the United
           States Congress to do something. I mean I can't tell you, John, the number of times in
           my hearings when they would ask me about why we're doing this so that what your
           philosophy is on immigration or whatever. I just said look you make the laws. I
           execute the laws. I can't pick and choose what laws to enforce. I would be, I should be
           thrown out of the job if I do that. Just do your job. Fix the problem. Or as I said in
           some remarks just shut up and let us do our job.

           The president sent National Guard troops to the border and said he's
           going to keep them there until the border wall is built. Do you think that
           Mr. Trump continues to put too much stock in a border wall as the answer
           to border security?

           You know, physical barriers work. Mr. Trump ... two years before he became the
           president-elect was talking about barriers along the border. He acknowledged the fact
           way back then that this was not going to be a concrete wall from sea to shining sea.
           That there were places we didn't need a wall. Places that were just too rough and
           people didn't know the big bend section of Texas is an example. You don't need a wall
           there. You know the mountain goats can't get through.

           There's other places particularly where you are close to cities on the U.S. side will you
           very definitely need a barrier ... along the California border cut illegal immigration by
           97 percent. So those border crossings — San Ysidro I think is 100,000 people come in
           every day, legally Mexicans. Something like that. And let me say a very, very large
           number. And at the end of the day a very, very large number the same people go back
           home to Mexico. What did they do in the United States? They shop, they work. They
           bring their kids to school. You know Catholic schools or private schools. Bring them
           back. We want that kind of movement. What we don't want is illegal immigrants.

           Are you in favor of this new move announced by the attorney general early
           this week that if you cross the border illegally even if you're a mother with
           your children [we're going] to arrest you? We're going to prosecute you,
           we're going to send your kids to a juvenile shelter?

           The name of the game to a large degree. Let me step back and tell you that the vast


10 of 17                                                                                            6/23/2018, 2:48 PM
                   Case 1:18-cv-01458-PLF Document 13-14 Filed 06/26/18 Page 11 of 11
           majority of the people that move illegally into United States are not bad people.
           They're not criminals. They're not MS-13. Some of them are not. But they're also not
           people that would easily assimilate into the United States into our modern society.
           They're overwhelmingly rural people in the countries they come from – fourth, fifth,
           sixth grade educations are kind of the norm. They don't speak English, obviously that's
           a big thing. They don't speak English. They don't integrate well, they don't have skills.
           They're not bad people. They're coming here for a reason. And I sympathize with the
           reason. But the laws are the laws. But a big name of the game is deterrence.

           Family separation stands as a pretty tough deterrent.

           It could be a tough deterrent — would be a tough deterrent. A much faster turnaround
           on asylum seekers.

           Even though people say that's cruel and heartless to take a mother away
           from her children?

           I wouldn't put it quite that way. The children will be taken care of — put into foster
           care or whatever. But the big point is they elected to come illegally into the United
           States and this is a technique that no one hopes will be used extensively or for very
           long.




11 of 17                                                                                            6/23/2018, 2:48 PM
